               THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                      CRIMINAL CASE NO. 1:08cr128-1


UNITED STATES OF AMERICA,       )
                                )
                                )
              vs.               )                    ORDER
                                )
                                )
GLENDA ALBRIGHT ADAMS.          )
_______________________________ )

      THIS MATTER is before the Court on the Defendant’s motion for a

reduction in sentence, which the Court construes as a second motion for

reconsideration [Doc. 606].

      The Defendant again moves for reconsideration of the denial of her

motion for a reduction of her sentence based on Amendment 750. For

grounds, the Defendant cites recent decisions from the Third, Sixth,

Seventh, and D.C. Circuit Courts of Appeals decisions,1 which held that

defendants whose sentences were reduced below a mandatory minimum

for substantial assistance may still receive the benefit of a sentence

reduction under Amendment 750.


1
  United States v. Savani, 733 F.3d 56 (3d Cir. 2013); United States v. Blewett, 719
F.3d 482, vacated on reh’g en banc (6th Cir. Dec. 3, 2013); In re Sealed Case, 722 F.3d
361 (D.C. Cir. 2013); and United States v. Wren, 706 F.3d 861 (7th Cir. 2013).


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     The law of this Circuit, however, remains unchanged. Because the

Defendant’s sentence was not “based on” any sentencing range authorized

by the Sentencing Guidelines section setting forth offense levels for crack

cocaine offenses but rather was based on a mandatory minimum sentence,

the Defendant is not eligible for a sentence reduction under Amendment

750 and § 3582(c)(2). See United States v. Hood, 556 F.3d 226, 232-37

(4th Cir. 2009); United States v. Freeman, No. 4:06CR00016, 2012 WL

178354, at *6 (W.D. Va. Jan. 23, 2012), aff’d, 474 F. App’x 180 (4th Cir.

2012).

     IT IS, THEREFORE, ORDERED that the Defendant’s motion for a

reduction in sentence, which the Court construes as a second motion for

reconsideration [Doc. 606], is DENIED.

     IT IS SO ORDERED.              Signed: December 4, 2013




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